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                                              AFFIDAVIT OF SERVICE

                                     UNITED STATES DISTRICT COURT
                                           East District of Texas
Case Number: 4:23-CV-00871

Plaintiff:
Kathryn Sneed and Sneed Equestrian Estates, LLC
vs.
Defendant:
Jeffrey Gibbs, Calli Rouse, Gibbs Show Hoces, Calli Rouse Show
Horses, Black Blrd Ranch, The Bonaparte Family Living

For:
Charles S. North
Keamey, McWiiliams & Davis. pllc
'1235 South Main, #280
Grapevine, TX 76051

Received by David Moore on the 9th day of October, 2023 al9:15 am to be served on Frank Bonapaile,
1623 Mockingbird Lane, Southlake, TX 76092.

f
    ' David Moore, being duly sworn, depose and say that on the 9th day of October, 2023 at3:45 pm, l:
INDIVIDUALLYTPERSONALLY served by delivering a true copy of the Summons tn A Civil Action and
Plaintiffs Original Gomplaint with the date of service endorsed thereon by me, to: Frank Bonaparte at
the address of: 1623 Mockingbird Lane, Southtake, TX 76092 and informed said person of the contents
therein, in compliance with state statutes.



I certify that I am approved by the Judicial Branch Certification Commission (JBCC) to detiver citations and
other notices from any District, County or Justice Courts in and for the State bf tex'as. t          tent to
make this oath; I am not less than eighteen years of age, I am not a party to the above-             cause,
I have not been convicted of a felony or a crime involving moral turpitude, and I am not             n the
outcome of the above-referenced cause.




                                                                           David Moore
Subscribed and Sworn to before me on the 13th day                          PSC-1 7184 Exp-1 0/31/25
of October, 2023 by the affiant who is personally
known to me.                                                               lnteraction Givil Process Investigations
                                                                           5773 Woodway Dr. #125
                                                                           Houston, TX 77057
                                                                           (832) 606€es8

                                                                           Our Job Serial Number: RJG-2023000712
                  MARIA APULIDO
    ;rffi:.: MyNobry lD# 13044E7t0
              Expiros Nrvtmfer 23. 20?3.


                                Copyrgft e 1992-2023 DraamBurl Son'mr6, Inc - Proc.rs Scil./B tolbor VO 2t
